Case 2:19-cv-02396-JTF-tmp Document 128 Filed 01/21/22 Page 1 of 1                       PageID 852


                   IN THE UNITED STATES DISTRICT COURT FOR THE
                WESTERN DISTRICT OF TENNESSEE WESTERN DIVISION
     ______________________________________________________________________________

PAMELA DIANE STARK,

         Plaintiff,                            Case No.: 2:19-cv-02396-JTF-tmp

v.

CITY OF MEMPHIS, et al.,

      Defendants.
______________________________________________________________________________

                 DEFENDANT CITY OF MEMPHIS’ NOTICE OF SERVING
                  SUPPLEMENTAL RULE 26(a)(1) INITIAL DISCLOSURES
     ______________________________________________________________________________

         Defendant, City of Memphis (the “City”), by and through counsel of record, provides notice

of service of the City’s Supplemental Rule 26(a)(1) Initial Disclosures via electronic mail as of this

date.

                                               Respectfully submitted,

                                               BURCH, PORTER & JOHNSON, PLLC

                                               s/Melisa Moore
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                                               Attorneys for City of Memphis



                                  CERTIFICATE OF SERVICE

         The undersigned hereby certifies that a true and correct copy of the foregoing document was
forwarded via the Court’s electronic filing system this 21st day of January, 2022 to counsel of record
for this matter.

                                               s/Melisa Moore
